Town of Bennett
Bennett 207 Muegge Way

Bennett, Colorado
a 80102-7806

Return Service Requested

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Gols

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“Tl

Eric Witt
— 170 Coolidge Court

_) Bennett, CO 80102

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22PM 2 L NEOPOST FIRST-CLASS MAIL
03/18/2022
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NAME
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RETURN TG SENDER
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BC: 841628425 a7 *1468-02743-11-48

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: = Complete fiétis, 1, 2, and 3.

}

@ Print youritithe and address on the reverse

so that'weiBah return the card to you.
® Attach this card to the back of the mailpiece,

or on the front if space permits,

A. Signature

xX

C7 Agent
0 Addressee

B. Received by (Printed Name)

+ 1. Article Addressed to:

Eric LW tr

10 Coolidge Court
Dennett, LO

§0/OG-

COR AVA

9590 9403 0627 5183 5845 98

D, Is delivery addyess different from item 1? [1 Yes
If YES, enter delivery address below: (J No

2. Article Nurhber (Transfer from service label)

?O15 Ob40 O00b 55484 so4a

3. ice Type

duit Signature
O Adult Signature Restricted Delivery
D Certified Mail® ,
O Cartified Mail Restricted Delivery
OCollecton Delivery

Er Benty Mall Express®
legistered Mall™

C1 Registered Mail Restricted
Delivery

Q Return Recelpt for
Merchandise

C. Date of Delivery

O Collect on Delivery Restricted Delivery Smee Confirmation™ *

Oinsured Mail ~

(J Insured Mail Restricted Delivery
... (over $500) aa

ignature Confirmation
Restricted Delivery ©

eee

PS Form 3811, April 2015 PSN 7530-02-000-9053

Nomestic Return Receipt :
